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       Exhibit K
                                  Produced in Al Otro Lado v. Duke, 2:17-cv-5111
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Executive Summary:
The San Ysidro Port of Entry (SYS) continues to experience unprecedented levels of foreign
nationals asserting claims of fear of returning to their home countries. Thousands of
unaccompanied alien children (UAC), family units, and adults attempt to migrate to the U.S. via
Central America and Mexico.        e forei n nationals are made u of numerous nationalities to
include citizens of                                                              Due to the
  ~       ~          • f   I I • !l   . .   I<    ~     .I
                                                             SYS is facing limitations in the intake and
processing of inadmissible travelers.

Background:
      •   The significant volume of arriving undocumented travelers has surpassed the physical
          capacity of the port and has resulted in a tremendous strain on all available local
          resources, to include personnel.
      •   When the Admissibility Enforcement Unit (AEU) is at or over capacity, the ability to
          comply with our detention policy (TEDS) and Reno v. Flores settlement is hindered and
          creates a liability for the agency. Such volume has seriously compromised the port's
          abilit to safe!                        r the ba ·                       l es in cu tod .
      •


      •


      •   In FY 2015, The San Diego Field Office (SDFO) reported 40,455 inadmissible aliens; a
          22% increase in encounters at the Ports of Entry since FY 2014. Additionally, year to
          date, we have noted an additional 8% increase in encounters in FY 2016 versus FY 2015.
      •   Further, the number of inadmissible alien encounters asserting Credible Fear
          (CF)/Asylum have surged to unprecedented levels. In FY 2015, the inadmissible aliens
          arriving at the San Diego Field Office asserting CF increased 66% to 24,923 versus FY
          2014; and year to date, FY 2016 reflects an increase of 10% since FY 2015.

Constraints:
      •   On June 24, 2016 the SYS AEU processing and holding areas located in the Pedestrian
          East (Pedeast) Building was closed down·due to construction and all AEU operations
          were transferred to temporary trailers located at the SYS Pedestrian West (Pedwest)
          facility.
      e                t,onnnr,r~t'V                                 lllm i T••rt pace ( CUrrent Capacity

                                                                                  which in turn limits our
          capability to intake and care for additional undocumented travelers.
      •   The ongoing construction at SYS has significantly limited our ca acity to house and care
          for undocumented travelers.


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Current Status:
   •   This fiscal year SYS continues to experience an upward trend in undocumented travelers
       for all nationalities.
   •   On July 15, 2016 the Pedwest Passenger Facility opened for the processing of
       pedestrians. Given the limited infrastructure and current ongoing construction at Pedeast
       SYS was able to coordinate with the Government of Mexico (GoM) to assist in
       redirecting asylum seekers from the Pedeast facility - limit line (area located prior to
       entry into the U.S.) to the Pedwest facility. Pedwest is now the primary intake area for
       asylum claims and other admissibility processing; and provides the capacity, intake area,
       and infrastructure to process the flow of travelers.
   •   SYS CBP personnel are not denying anyone requesting asylum, however are redirecting
       potential applicants to Pedwest to ensure a timelier and efficient intake process.
   •   All potential asylum applicants arriving at the primary lane (pedestrian, vehicle, CBX)
       and making entry into the U.S. are taken into custody and safeguarded.
   •   The SYS AEU has undertaken the following actions/contingency plans to address the
       ongoing surge:
       l . Temporarily assigned additional personnel to support the increased workload.
       2. Utilized Border Patrol (USBP) Stations to temporarily hold migrants awaiting
           custodial transfer to ICE/ERO. Locations include: Imperial Beach Border Patrol
           Station and the Barracks five facility located within the Chula Vista Border Patrol
           Station.
       3. Increased AEU staffing assignments.
       4. Committed outlying ports of entry and USBP Stations to augment resources with
           virtual processing efforts.
       5. Integrated Haitian Creole speakers throughout CBP to conduct case processing.
       6. Coordinating locally with ICE/ERO and USBP to facilitate the movement of OFO
           processed detainees.
       7. Provided additional administrative support to ICE/ERO to reduce the burden on
           ICE/ERO.
       8.

       9. Coordinated with the Los Angeles Field Office for TDY support of a Creole speaker.
       10. Coordinated with HQ-IMO to identify CBP personnel fluent in the Creole language to
           support San Ysidro with interpreter and virtual processing as needed.

   •   Given SYS infrastructure limitation due to the on oin construction at Pedeast and
       limited capacity at the new Pedwest trailers                 SYS have been measuring the
       flow of undocumented travelers into our custody. In coordination with the GoM we have
       identified two (2) periods throughout the day to intake asY.lum claims into our custody
       (8am and 4pm). At each period we intake approximatelrllllllipplicants, with a daily
       intake total of approximately-pplicants. If an applicant does not meet these intake


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     time periods, they are requested to remain in-line in Mexico until the next intake period
     (note: the asylum groups are made up oftwo main groups - citizens other than Mexicans
     who normally have temporary legal status in Mexico and do not fear being in Mexico:
     and citizens ofMexico who do not have fear ofbeing in Tijuana but fear ofreturning
     back lo their own hometowns in interior Mexico due to the violence among groups
     fighting for control in Michoacan and Guerrero). Based on this scenario, the GoM has
     developed their own health and safety protocols on the Mexican side of the border to
     assist the asylum applicants waiting in line in Mexico. In order to control the flow of
     asylees in their area the GoM has instituted a numerical process by giving asylum
     applicants numbers with intake dates in the order of their arrival. The applicants are also
      given the locations of humanitarian shelters in Tijuana where they receive food and
     shelter until their intake date. The implementation of this process was developed by the
      GoM.
   • To provide consistent messaging SYS Management is routinely conducting musters to all
      personnel and ensuring protocols are being followed for all asylum applicants.
   • SYS Management has also coordinated with Federal Protective Service contracted
      Protective Security Officers (PSOs) to assist in redirecting asylum seekers to Pedwest for
      acceptance and processing (note: asylum applicants are not denied entry at the limit line
      but are asked to redirect and report to Pedwest for intake and acceptance).
   • PSOs assigned at the Pedwest facility limit line will identify and ask asylum seekers to
      wait at the limit line (in Mexico) for intake and processing scheduled at 8am and 4pm.
Allegations:



                                                                                              CBP
               is forced to hold asylum applicants for an extended period of time, and therefore
               impacts the ability to intake new applicants.
   •   CBP Officers told travelers that they could not seek asylum at "this port."
           o Asylum applicants are being re-directed to the Pedwest facility for acceptance.
   •   CBP Officers told travelers they must return to Mexico and will be unable to request
       protection unless they are brought in by one of the migrant shelters in Tijuana.
           o This action was taken during the significant influx of Haitian citizens in custody
               (approximately-etainees of all nationalities) to alleviate the overcrowding
               and to assist with providing appropriate accommodations (shelter, food, water) for
               potential asylum applicants waiting to be processed. This action occurred during .
               the late May to early June of this year. Currently, asylees are directed to Pedwest
               for appropriate intake.
   •   CBP Officers informed travelers that the US was not accepting any asylum applicants.
          o No travelers are denied the ability to apply for entry and request asylum at the
            San Ysidro Port of Entry. Mexican Officials are not denying anyone at the
            behest of CBP.


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   o   CBP SYS Management is routinely conducting musters to all personnel to
       ensure consistent messaging and to ensure that protocols are followed for all
       asylum applicants. Muster memorandum to all perspnnel states the following:

       •   Due to the ongoing construction and infrastructure limitations at SYS/OTM
           port of entry; and to provide the most efficient processing of travelers, the
           following protocols will be adhered to:

              •   Under no circumstances will an asylum applicant be denied entry
                  into the U.S. Please direct all applicants to the Pedwest faci lity for
                  proper intake and processing.

              •   Any applicant for asylum encountered on primary
                  (pedestrian/vehicle/CBX) should be taken into custody, escorted to
                  the security office, and transported to the Pedwest facility for proper
                  intake and processing.




                                  CBPALORT000106
